                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ILLINOIS



                                    §
In Re:     RAYMOND L BAKER          §      Case No.: 06-16849
                                    §
                                    §
                                    §
      Debtor(s)                     §
----------------------------------------------------------------------

               CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT

Tom Vaughn, Chapter 13 Trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The trustee declares as
follows:

         1)    The case was filed on 12/19/2006.

         2)    This case was confirmed on 03/22/2007.

         3)    The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
09/10/2009.

         4)    The trustee filed action to remedy default by the debtor in performance under the plan on
07/01/2009.

         5)    The case was completed on 11/01/2011.

         6)    Number of months from filing to the last payment: 58

         7)    Number of months case was pending: 63

         8)    Total value of assets abandoned by court order: NA

         9)    Total value of assets exempted: $    44,000.00

         10)   Amount of unsecured claims discharged without payment $ 12,863.97

         11)   All checks distributed by the trustee to this case have cleared the bank.




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| Receipts:
  _________                                                                                     |
|           Total paid by or on behalf of the debtor $
                                                     _______________
                                                         35,401.00                              |
|           Less amount refunded to debtor           $
                                                     _______________
                                                          1,016.38                              |
| NET RECEIPTS                                             $
                                                           _______________
                                                               34,384.62                        |
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| ___________________________
  Expenses of Administration:                                                                   |
|                                                                                               |
|           Attorney's Fees Paid through the Plan  $
                                                   ______________
                                                        2,526.00                                |
|           Court Costs                            $
                                                   ______________
                                                             .00                                |
|           Trustee Expenses and Compensation      $
                                                   ______________
                                                        2,273.21                                |
|           Other                                  $
                                                   ______________
                                                             .00                                |
|                                                                                               |
| TOTAL EXPENSES OF ADMINISTRATION                       $
                                                         ______________
                                                              4,799.21                          |
|                                                                                               |
| Attorney fees paid and disclosed by debtor       $
                                                   ______________
                                                          474.00                                |
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| ____________________
   Scheduled Creditors:                                                                         |
|                                                                                               |
| Creditor                       Claim        Claim      Claim       Principal       Int.       |
| ___________
    Name              _____
                      Class     _________
                                Scheduled  _________
                                            Asserted    _________
                                                         Allowed      ________
                                                                       Paid        ______
                                                                                    Paid        |
|                                                                                               |
|COOK COUNTY TREASURE SECURED     3,228.00    3,328.92           .00           .00        .00   |
|INTERNAL REVENUE SER SECURED    12,100.00    8,332.96      8,332.96    8,332.96          .00   |
|SELECT PORTFOLIO SER SECURED    91,191.00   70,881.34           .00           .00        .00   |
|SELECT PORTFOLIO SER OTHER            .00           NA           NA           .00        .00   |
|SELECT PORTFOLIO SER OTHER            .00           NA           NA           .00        .00   |
|ILLINOIS DEPT OF REV PRIORITY    2,937.21           NA           NA           .00        .00   |
|LINEBARGER GOGGAN BL OTHER            .00           NA           NA           .00        .00   |
|LINEBARGER GOGGAN BL OTHER            .00           NA           NA           .00        .00   |
|INTERNAL REVENUE SER PRIORITY    7,200.00           NA           NA           .00        .00   |
|CITY OF CHICAGO PARK UNSECURED   1,365.00    1,260.00      1,260.00      126.00          .00   |
|CITY OF CHICAGO BURE OTHER            .00           NA           NA           .00        .00   |
|HOUSEHOLD/OCHARD BAN UNSECURED     912.51           NA           NA           .00        .00   |
|UNITED RECOVERY SYST OTHER            .00           NA           NA           .00        .00   |
|INTERNAL REVENUE SER UNSECURED   1,274.00           NA           NA           .00        .00   |
|KOHLS                UNSECURED     414.93           NA           NA           .00        .00   |
|RISK MANAGEMENT ALTE OTHER            .00           NA           NA           .00        .00   |
|OUR LADY OF RESSURRE UNSECURED     171.00           NA           NA           .00        .00   |
|PEDIA GROUP          UNSECURED     104.00       104.00       104.00        10.40         .00   |
|PROVIDIAN            UNSECURED   2,810.60           NA           NA           .00        .00   |
|RISK MANAGEMENT ALTE UNSECURED     782.21           NA           NA           .00        .00   |
|PROFFESSIONAL ACCOUN UNSECURED      83.00           NA           NA           .00        .00   |
|US ONCOLOGY          UNSECURED     210.00           NA           NA           .00        .00   |
|US POSTAL SERVICE    UNSECURED     276.00           NA           NA           .00        .00   |
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| ____________________
   Scheduled Creditors:                                                                         |
|                                                                                               |
| Creditor                       Claim        Claim      Claim       Principal       Int.       |
| ___________
    Name              _____
                      Class     _________
                                Scheduled  _________
                                            Asserted    _________
                                                         Allowed      ________
                                                                       Paid        ______
                                                                                    Paid        |
|                                                                                               |
|CREDIT BUREAU ACCOUN UNSECURED     159.00           NA           NA           .00        .00   |
|VILLAGE OF OAK PARK UNSECURED       20.00           NA           NA           .00        .00   |
|WFS FINANCIAL        UNSECURED   5,300.00    4,900.95      4,900.95      490.10          .00   |
|KENNETH B DROST      OTHER            .00           NA           NA           .00        .00   |
|MRS ASSOCIATES       OTHER            .00           NA           NA           .00        .00   |
|WFS FINANCIAL        OTHER            .00           NA           NA           .00        .00   |
|SELECT PORTFOLIO SER SECURED           NA   20,613.48    20,613.48    20,613.48          .00   |
|PORTFOLIO RECOVERY A UNSECURED         NA        90.74        90.74         9.07         .00   |
|KLUEVER & PLATT      OTHER             NA           NA           NA           .00        .00   |
|ILLINOIS DEPT OF REV SECURED           NA    2,500.09           .00           .00        .00   |
|ILLINOIS DEPT OF REV UNSECURED         NA        34.00        34.00         3.40         .00   |
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| ______________________________________
  Summary of Disbursements to Creditors:                                                                         |
|                                                                                                                |
|                                           Claim       Principal        Int.                                    |
|                                           _______
                                            Allowed     ________
                                                         Paid            ____
                                                                         Paid                                    |
| Secured Payments:                                                                                              |
|        Mortgage Ongoing                          .00          .00         .00                                  |
|        Mortgage Arrearage                  20,613.48   20,613.48          .00                                  |
|        Debt Secured by Vehicle                   .00          .00         .00                                  |
|        All Other Secured                 ___________
                                              8,332.96 ___________
                                                          8,332.96 __________
                                                                            .00                                  |
| TOTAL SECURED:                             28,946.44   28,946.44          .00                                  |
|                                                                                                                |
| Priority Unsecured Payments:                                                                                   |
|        Domestic Support Arrearage                .00          .00         .00                                  |
|        Domestic Support Ongoing                  .00          .00         .00                                  |
|        All Other Priority                ___________
                                                   .00 ___________
                                                                .00 __________
                                                                            .00                                  |
| TOTAL PRIORITY:                                  .00          .00         .00                                  |
|                                                                                                                |
| GENERAL UNSECURED PAYMENTS:                 6,389.69       638.97         .00                                  |
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| Disbursements:
  ______________                                                                                                 |
|                                                                                                                |
|        Expenses of Administration     $   4,799.21                                                             |
|        Disbursements to Creditors     $  29,585.41                                                             |
|                                                                                                                |
| TOTAL DISBURSEMENTS:                                 $   34,384.62                                             |
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        12)     The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.


Dated:       ______________
             03/29/2012                                             ________________________________________
                                                                    /s/ Tom Vaughn
                                                                    Tom Vaughn, Chapter 13 Trustee

STATEMENT       : This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R § 1320. 4(a)(2) applies.




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